EXHIBIT 3
SECRETARY OF DEFENSE
1000 DEFENSE PENTAGON
WASHINGTON, DC 20301-1000

JUN - 9 2025

MEMORANDUM FOR ADJUTANT GENERAL OF THE CALIFORNIA NATIONAL GUARD
THROUGH: THE GOVERNOR OF CALIFORNIA

SUBJECT: Calling Additional Members of the California National Guard into Federal Service

On June 7, 2025, the President of the United States called forth at least 2,000 National
Guard personne] into Federal service pursuant to section 12406 of title 10, U.S. Code, to
temporarily protect U.S. Immigration and Customs Enforcement and other U.S. Government
personnel who are performing Federal functions, including the enforcement of Federal law, and
to protect Federal property, at locations where protests against these functions are occurring or
are likely to occur based on current threat assessments and planned operations. The President
signed a copy of the attached memorandum to effectuate the calling forth of these Service
members. Also on June 7, 2025, | implemented that order by directing 2,000 members of the
California National Guard be called into Federal Service for a period of 60 days (see attached
memorandum).

This memorandum further implements the President's direction. An additional 2,000
members of the California National Guard will be called into Federal service effective
immediately for a period of 60 days. The Chief of the National Guard Bureau will immediately
coordinate the details of the mobilization with the Adjutant General of the California National
Guard, in coordination with the Chairman of the Joint Chiefs of Staff and Commander, U.S.
Northern Command. The mobilized Service members will be under the command and control of
the Commander, U.S. Northern Command.

Attachments:
As stated

ce:

Chairman of the Joint Chiefs of Statf

Chief, National Guard Bureau

Commander, U.S. Northern Command

Under Secretary of Defense for Policy

Under Secretary of Defense for Personnel and Readiness
June 7, 2025

MEMORANDUM FOR THE SECRETARY OF DEFENSE
THE ATTORNEY GENERAL
THE SECRETARY OF HOMELAND SECURITY

SUBJECT: Department of Defense Security for the Protection
of Department of Homeland Security Functions

Numerous incidents of violence and disorder have recently
occurred and threaten to continue in response to the enforcement
of Federal law by U.S. Immigration and Customs Enforcement (ICE)
and other United States Government personnel who are performing
Federal functions and supporting the faithful execution of
Federal immigration laws. In addition, violent protests
threaten the security of and significant damage to Federal
immigration detention facilities and other Federal property. To
the extent that protests or acts of violence directly inhibit
the execution of the laws, they constitute a form of rebellion
against the authority of the Government of the United States.

In light of these incidents and credible threats of continued
violence, by the authority vested in me as President by the
Constitution and the laws of the United States of America, I
hereby call into Federal service members and units of the
National Guard under 10 U.S.C. 12406 to temporarily protect ICE
and other United States Government personnel who are performing
Federal functions, including the enforcement of Federal law, and
to protect Federal property, at locations where protests against
these functions are occurring or are likely to occur based on
current threat assessments and planned operations. Further, I
direct and delegate actions as necessary for the Secretary of
Defense to coordinate with the Governors of the States and the
National Guard Bureau in identifying and ordering into Federal
service the appropriate members and units of the National Guard
under this authority. The members and units of the National
Guard called into Federal service shall be at least 2,000
National Guard personnel and the duration of duty shall be for
60 days or at the discretion of the Secretary of Defense. In
addition, the Secretary of Defense may employ any other members
of the regular Armed Forces as necessary to augment and support
the protection of Federal functions and property in any number
determined appropriate in his discretion.

To carry out this mission, the deployed military personnel may
perform those military protective activities that the Secretary
of Defense determines are reasonably necessary to ensure the
protection and safety of Federal personnel and property The
Secretary of Defense shall consult with the Attorney General and
the Secretary of Homeland Security prior to withdrawing any
personnel from any location to which they are sent. The
Secretaries of Defense and Homeland Security may delegate to
subordinate officials of their respective Departments any of the
authorities conferred upon them by this memorandum.

DONALD J. TRUMP
SECRETARY OF DEFENSE
1000 DEFENSE PENTAGON
WASHINGTON, DC 20301-1000

JUN 07 2025

MEMORANDUM FOR ADJUTANT GENERAL OF THE CALIFORNIA NATIONAL GUARD
THROUGH: THE GOVERNOR OF CALIFORNIA

SUBJECT: Calling Members of the California National Guard into Federal Service

The President of the United Statcs has called forth at least 2000 National Guard
personnel into Federal service pursuant to section 12406 of title 10, U.S. Code, to temporarily
protect U.S. Immigration and Customs Enforcement and other U.S. Government personnel
who are performing Federal functions, including the enforcement of Federal law. and to protect
Federal property. at locations where protests against these functions are occurring or are likely
to occur based on current threat assessments and planned operations. The President signed a
copy of the attached memorandum today to effectuate the calling forth of these Service
members.

This memorandum implements the President's direction. Two thousand members of
the California National Guard will be called into Federal service effective immediately for a
period of 60 days. The Chief of the National Guard Burcau will immediately coordinate the
details of the mobilization with the Adjutant General of the California National Guard, in
coordination with the Chairman of the Joint Chiefs of Staff and Commander, U.S. Northern
Command. The mobilized Service members will be under the command and control of the
Commander, U.S. Northern Command.

Attachment:
As stated

cc:
Chairman of the Joint Chiefs of Staff
Chief, National Guard Bureau
Commander, U.S. Northem Command
Under Secretary of Defense for Policy
